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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

MICHELLE LEE MULLINS                         §
                                             §
VS.                                          §       ACTION NO. 4:04-CV-477-Y
                                             §
JAMES R. CROUCH                              §

                                   FINAL JUDGMENT

        In accordance with the order issued this same day and Federal

Rule of Civil Procedure 58,

        It is hereby ORDERED, ADJUDGED, and DECREED that Plaintiff’s

federal claims are hereby DISMISSED WITH PREJUDICE to their refiling.

The Court DECLINES to exercise jurisdiction over Plaintiff’s remaining

state claims, and those claims are therefore DISMISSED WITHOUT

PREJUDICE to their refiling.               All costs of Court under 28 U.S.C. §

1920 shall be borne by Plaintiff.

        SIGNED April 28, 2005.




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TRM/chr
